861 F.2d 266Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Marshall MECHANIK, Defendant-Appellant.
    No. 87-7652.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Sept. 7, 1988.Decided:  Oct. 25, 1988.
    
      Marshall Mechanik, appellant pro se.
      Michael Eugene Winck (U.S. Department of Justice), for appellee.
      Before DONALD RUSSELL, K.K. HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Marshall Mechanik appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, although we grant leave to proceed in forma pauperis, we affirm on the reasoning of the district court.  United States v. Mechanik, CR-86-7;  CA-87-0556 (S.D.W.Va. July 8, 1987).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    